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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
PUBLIC CITIZEN, et al.,              )
                                     )
                                     )   Civil Action No. 1:19-cv-986-RDM
            Plaintiffs,              )
                                     )
            v.                       )
                                     )
ELISABETH DEVOS, et al.,             )
                                     )
            Defendants.              )
                                     )

                                          ERRATUM

       After filing the complaint in this case on April 9, 2019 (ECF 1), counsel discovered that

the conversion to PDF format resulted in deletion of the image at paragraph 16 on the top of page

6 of the complaint. The image that should appear at the end of paragraph 16 is:




Dated: April 10, 2019                             /s/ Nandan M. Joshi
                                                  Nandan M. Joshi (DC Bar No. 456750)
                                                  Allison M. Zieve (DC Bar No. 424786)
                                                  Scott L. Nelson (DC Bar No. 413548)
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                                                  Counsel for Plaintiffs
         Case 1:19-cv-00986-RDM Document 5 Filed 04/10/19 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I hereby certify that on April 10, 2019, I caused the foregoing Erratum to be served on

defendants as follows:

       By certified mail

       William Barr
       Attorney General of the United States
       U.S. Department of Justice
       950 Pennsylvania Avenue, NW
       Washington, DC 20530-0001

       U. S. Department of Education
       Office of General Counsel
       400 Maryland Avenue, SW
       Room 6E300
       Washington, DC 20202-2111

       Secretary Elisabeth DeVos
       U. S. Department of Education
       Office of General Counsel
       400 Maryland Avenue, SW
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       Washington, DC 20202-2111


       By hand delivery

       Jessie K. Liu
       U.S. Attorney, District of Columbia
       Fourth Floor
       501 Third Street, NW
       Washington, D.C.


       Dated: April 10, 2019
                                                    /s/ Nandan M. Joshi
                                                    Nandan M. Joshi




                                               2
